Case 2:19-cv-12515-KM-ESK Document 11 Filed 07/29/19 Page 1 of 13 PageID: 59



MARK B. FROST & ASSOCIATES                                  Attorneys for Plaintiff
BY: Ryan M. Lockman, Esquire
1515 Market Street, Suite 1300
Philadelphia, PA 19102
P: 215-351-3333
RLockman@MFrostLaw.com

                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
__________________________________________
CHRISTOPHER TERRANOVA,                     :
As a parent and a legal guardian of his minor
                                           :
children, C.T. and G.T.,                   :
                                           :
               Plaintiff,                  :
                                           :
        v.                                 :
                                           :
BOROUGH OF HASBROUCK HEIGHTS,              :
HASBROUCK HEIGHTS SCHOOL DISTRICT :
POLICE CHIEF MICHAEL COLANERI              :
in his individual and official capacities, :                Civ. A. 2:19-cv-12515-JMV-JAD
OFFICER HAROLD VAN WINKLE,                 :
in his individual and official capacities, :
DR. MATTHEW HELFANT,                       :
in his individual and official capacities, :                JURY TRIAL DEMANDED
                                           :
               Defendants.                 :                AMENDED
___________________________________________:                COMPLAINT

                              CIVIL ACTION – COMPLAINT

       Plaintiffs Christopher Terranova (hereinafter “Plaintiff”), on behalf of his minor children,

C.T. and G.T., by and through his attorneys, Mark B. Frost & Associates, hereby brings this

Complaint against Defendants Borough of Hasbrouck Heights, Borough of Hasbrouck Heights

Police Chief Michael Colaneri, Borough of Hasbrouck Heights Police Officer Harold Van Winkle,

Hasbrouck Heights School District, and Hasbrouck Heights School District Superintendent Dr.

Matthew Helfant, and avers as follows:




                                               -1-
Case 2:19-cv-12515-KM-ESK Document 11 Filed 07/29/19 Page 2 of 13 PageID: 60



                                 I.       INTRODUCTION

1.   Plaintiff brings this action to redress the excessive force used by Defendant Van Winkle

     upon Plaintiff’s minor children, C.T. and G.T. Plaintiff seeks declaratory, injunctive,

     monetary and other appropriate relief to redress the rights secured to his children by the

     laws of the United States of America and the State of New Jersey.

                                  II.         JURISDICTION

2.   This action is brought pursuant to 42 U.S.C. § 1983 and the Eighth and Fourteenth

     Amendments to the United States Constitution. Jurisdiction is founded on 28 U.S.C. §§

     1331 and 1343(3) and the aforementioned statutory and constitutional provisions.

3.   Jurisdiction lies over state law claims based on the principles of supplemental jurisdiction,

     as codified at 28 U.S.C. § 1367.

4.   The amount in controversy exclusive of interest and costs exceeds the sum of one hundred

     thousand ($100,000.00) Dollars.

                                        III.     VENUE

5.   All claims herein arose within the jurisdiction of the United States District Court for the

     District of New Jersey and involve Defendants who reside within the jurisdictional limits.

     Venue is accordingly invoked pursuant to the dictates of 28 U.S.C. § 1391(b) and (c).

                                        IV.     PARTIES

6.   Plaintiff, Christopher Terranova, is an individual citizen of Bergen County, New Jersey,

     residing therein at 180 Burton Avenue, Hasbrouck Heights, NJ 07604, with his wife Lauren

     Terranova and their two minor children, C.T. and G.T.

7.   Defendant Borough of Hasbrouck Heights is a municipality within the State of New Jersey

     and owns, operates, manages, directs and controls the Hasbrouck Heights Police



                                                -2-
Case 2:19-cv-12515-KM-ESK Document 11 Filed 07/29/19 Page 3 of 13 PageID: 61



         Department (HHPD), which employs the other named individual defendants and which

         maintains headquarters at 248 Hamilton Ave, Hasbrouck Heights, NJ 07604.

8.       Defendant Police Chief Michael Colaneri has at all times material served as police chief of

         the HHPD, and in such a capacity oversees the operations of the HHPD, including but not

         limited to officer training, discipline, and assignments, and constitutes a final policymaker

         for the HHPD and the Borough of Hasbrouck Heights.

9.       Defendant Harold Van Winkle is a Class III Police Officer for the HHPD and has

         maintained said position at all times material.

10.      The Hasbrouck Heights School District (HHSD) is a school district located in Bergen

         County, New Jersey, with main offices located at 379 Boulevard, Hasbrouck Heights, NJ

         07604. The School Board controls all operations for the entire Hasbrouck Heights School

         District.

11.      At all times material, Dr. Matthew Helfant has been the Superintendent of the HHSD, and

         in such a capacity oversees the operations of the HHSD, and constitutes a final policymaker

         for the HHSD.

                                           V.      FACTS

      12. In approximately mid-November 2018, both C.T. and G.T. were enrolled in and attending

         HHSD’s Lincoln Elementary School; C.T. was in third grade and G.T. was in fifth grade.

      13. At all times material herein, HHSD had entered into an agreement with the Borough

         Heights Police Department to provide security for three schools within the HHSD,

         including the Lincoln Elementary School.

      14. Pursuant to said agreement, one Class III police officer would be assigned to Lincoln

         School at any given time, and said officer was at all times acting in the scope of his



                                                  -3-
Case 2:19-cv-12515-KM-ESK Document 11 Filed 07/29/19 Page 4 of 13 PageID: 62



     employment with the police department, was subject to the rules and regulations of the

     police department, and was to act under the direction of the HHPD Chief of Police.

  15. The officers selected for these school assignments were retired officers employed by

     HHPD for this assignment and classified as “Class III” officers of the HHPD. In such a

     capacity, a Class III officer maintains full police powers and responsibilities while on duty,

     and is subject to the applicable laws and police policies for the police department where

     said officer is employed.

  16. One such Class III officer hired by HHPD for the purpose of providing school security was

     Defendant Van Winkle.

  17. The primary purpose of having the officers in the school was to stand guard by the main

     entrance of the school, in order to deter and prevent intruders and/or dangerous individuals

     from entering the school, such as a school shooter or any other outside individual posing a

     threat to the welfare and safety of the children and staff inside the school.

  18. At Lincoln Elementary School, the students’ book bags and backpacks were maintained

     near the front entrance, where the assigned officer was stationed.

  19. In or around approximately mid-November 2018, Defendant Van Winkle was assigned to

     the Lincoln School and acting under color of law while on duty at the school.

  20. On said date, when children were in the vicinity of the front entrance, Officer Van Winkle

     began yelling at said children that they were being too noisy.

  21. This was not part of Van Winkle’s duties, which were strictly to ensure the safety of the

     children and staff and to guard against potential intruders.




                                              -4-
Case 2:19-cv-12515-KM-ESK Document 11 Filed 07/29/19 Page 5 of 13 PageID: 63



  22. Thereafter during this incident Defendant Van Winkle threatened and intimidated the

     children by withdrawing his police-issued baton and banged it against the wall, in order to

     intimidate and threaten the students with physical harm if they remained noisy.

  23. After C.T. made a noise, Van Winkle took his baton and intentionally shoved it into the

     chest and/or collar bone of C.T. and presses him against the wall, causing C.T. physical

     pain and suffering, and preventing C.T. from leaving.

  24. As a result of Van Winkle’s yelling and use of the baton, C.T. was put into reasonable fear

     of imminent bodily harm.

  25. Upon information and belief, Van Winkle engaged in similar conduct with his baton

     towards another child during this same incident, knocking said child to the ground.

  26. On another incident in or about the end of November 2018, while children were again

     gathered near the front entrance, Van Winkle kicked G.T.’s school bag and the bag of

     another child for no justifiable reason, thus threatening the imposition of physical harm on

     G.T..

  27. As a result of Van Winkle’s yelling, use of the baton, and his kicking of G.T.’s bag, G.T.

     was put into reasonable fear of imminent bodily harm.

  28. The unlawful touching and threatening manner of Defendant Van Winkle was without

     provocation, and none of the children at any point posed a threat to each other or to Officer

     Van Winkle.

  29. Defendants’ conduct constituted an unreasonable use of force, as well as an assault and

     battery.

  30. Upon information and belief, at the time of these incidents, Van Winkle had not been given

     sufficient training.



                                              -5-
Case 2:19-cv-12515-KM-ESK Document 11 Filed 07/29/19 Page 6 of 13 PageID: 64



  31. In August of 2018, Chief Colaneri, on behalf of HHPD, had sought a waiver - from the

     Police Training Commission (PTC) - of Van Winkle’s basic training required prior to

     employment. This waiver was granted, meaning that Van Winkle was not given basic

     training immediately prior to being employed as a Class III Officer or assigned to HHSD.

  32. Moreover, Van Winkle was still required by the PTC to obtain the state-mandated training

     for School Resource Officers, and other training by the PTC.

  33. However, at the time of these aforementioned incidents, Van Winkle had not been sent (or

     even scheduled to be sent), by the HHPD, to state-mandated training for School Resource

     Officers, which is required under New Jersey State statute and required by the PTC.

  34. Rather, in January of 2019, after the aforementioned incidents, Van Winkle was finally

     scheduled by the HHPD to receive said training in April of 2019. It is unknown if Van

     Winkle actually attended said training in April 2019.

  35. By allowing Van Winkle to work at HHSD without adequate training, Chief Colaneri,

     HHPD, Dr. Helfant, and HHSD, knowingly allowed Van Winkle to interact with students

     and perform duties inside school without the training required to properly perform the

     functions of the job.

  36. Upon information and belief, Chief Colaneri and/or Dr. Helfant were aware of Van

     Winkle’s failure to attend said training, yet they kept him assigned to HHSD prior to

     receiving same.

  37. Further, upon information and belief, Chief Colaneri and/or Dr. Helfant were aware of the

     aforementioned incidents set forth above, yet took no action to punish Van Winkle or

     permanently remove him from his duties as a Class III officer assigned to HHSD.

  38. Chief Colaneri and Dr. Helfant knowingly acquiesced to Van Winkle’s conduct.



                                             -6-
Case 2:19-cv-12515-KM-ESK Document 11 Filed 07/29/19 Page 7 of 13 PageID: 65



  39. As a result of complaints by various teachers and parents, Van Winkle was temporarily

     removed from Lincoln Elementary School by Chief Colaneri.

  40. However, within months, Chief Colaneri returned Van Winkle to duty within the

     Hasbrouck School District, with the permission of Dr. Helfant and the HHSD, where he

     continues to serve as a police officer inside schools, thus posing an ongoing threat to

     students.

  41. Upon information and belief, Dr. Helfant, individually and as a policymaker for Hasbrouck

     Heights School District, and Chief Colaneri, individually and as a policymaker for HHPD,

     were aware of the aforementioned incidents by Officer Van Winkle and knowingly

     acquiesced to said conduct, by failing to take action after the first and also the second

     incident involving Van Winkle, and by knowingly allowing Van Winkle to remain an

     officer within the school district.

  42. Upon information and belief, Dr. Helfant and Chief Colaneri were also aware of Van

     winkle’s lack of adequate training, as set forth above.

  43. Upon information and belief, Dr. Helfant, as superintendent, maintains the final say as to

     whether officers are permitted inside the facilities at HHSD. Upon information and belief,

     the police department through Chief Colaneri would issue proposed schedules for officers

     to be assigned to particular schools within HHSD; Dr. Helfant, as Superintendent,

     maintains the discretion to approve disapprove any such schedule and not permit certain

     officers inside certain HHSD facilities.

  44. Chief Colaneri, individually and as policymaker for HHPD, continued to issue schedules

     with Van winkle assigned inside HHSD schools, even after the first and second




                                                -7-
Case 2:19-cv-12515-KM-ESK Document 11 Filed 07/29/19 Page 8 of 13 PageID: 66



         aforementioned incidents involving Van Winkle engaging in the aforementioned

         inappropriate and unlawful conduct.

      45. Dr. Helfant, individually and as policymaker for HHSD, continued to approve schedules

         with Van Winkle assigned inside HHSD schools, even after the first and second

         aforementioned incidents involving Van Winkle engaging in the aforementioned

         inappropriate and unlawful conduct.

      46. Further, Chief Colaneri, as Chief and policymaker for the borough of Hasbrouck Heights,

         has final say over the employment, assignments, duties, training, and schedules of

         Hasbrouck Heights officers, including Class III officers.

                                         COUNT I
           PLAINTIFF, on behalf of C.T. and G.T. V. DEFENDANT VAN WINKLE
                            VIOLATIONS OF 42 U.S.C. 1983
                                  Excessive Use of Force

47.      Plaintiff incorporates by reference the preceding allegations of this Complaint as though

         each were individually set forth herein at length.

48.      Without any justification or provocation, Defendant Van Winkle acting under color of law,

         willfully and maliciously attacked C.T. and caused injury. Such acts constituted a grossly

         excessive use of force.

49.      Further, without any justification or provocation, Defendant Van Winkle caused G.T.

         reasonable fear of imminent bodily harm.

50.      The conduct by Defendant Van Winkle was objectively unreasonable and undertaken

         maliciously and sadistically, for the purpose of causing harm. Such attack was an

         unnecessary, wanton infliction of harm for no good faith purpose.

51.      As a result of the above conduct, C.T. and G.T. suffered physical and/or emotional pain

         and suffering, as set forth above.

                                                  -8-
Case 2:19-cv-12515-KM-ESK Document 11 Filed 07/29/19 Page 9 of 13 PageID: 67



52.    By engaging in said conduct, Defendant Van Winkle used excessive force without just or

       legal cause and thereby violated the laws and Constitution of the state of New Jersey and

       the New Jersey Attorney General’s Guidelines on Use of Force.

53.    As a direct and proximate result of the Defendant, C.T. and G.T. suffered physical and/or

       emotional pain and suffering, and were deprived of their rights under the laws and

       Constitution of the United States, in particular, the Fourth Amendment to the United States

       Constitution, the due process clause of the United States Constitution, and 42 U.S.C.

       §1983, and was further in violation of the Statutes of the State of New Jersey.

54.    As a result of the aforementioned occurrence, and due to intention and willful acts of the

       Defendants, C.T. and G.T. have suffered and will in the future suffer severe emotional

       distress,   bodily   injury,   pain,   emotional     distress,   humiliation,   embarrassment,

       inconvenience, loss of pleasure and enjoyment of life, and medical expenses.

       WHEREFORE, Plaintiff demands judgment against Defendant in an amount in excess of

One Hundred Thousand Dollars ($100,000.00) plus interest, costs, attorney’s fees and punitive

damages.


                                      COUNT II
             PLAINTIFF, on behalf of C.T. and G.T., V. ALL DEFENDANTS
                          VIOLATIONS OF 42 U.S.C. 1983

55.    Plaintiff incorporates by reference the preceding allegations of this Complaint as though

       each were individually set forth herein at length.

56.    Defendants Borough of Hasbrouck Heights and the Hasbrouck Heights School District, by

       and through Defendants Colaneri, Defendant Helfant, and other policymakers, developed

       policies and/or customs which caused the deprivation of G.T. and C.T.’s constitutional and

       statutory rights.


                                                 -9-
Case 2:19-cv-12515-KM-ESK Document 11 Filed 07/29/19 Page 10 of 13 PageID: 68



57.   Said policies were inherently deficient, which caused the unlawful conduct by Van Winkle

58.   Defendants Borough of Hasbrouck Heights and the Hasbrouck Heights School District, by

      and through Defendants Colaneri, Defendant Helfant and other policymakers, negligently,

      recklessly, and/or intentionally:

         a. failed to properly train the Defendant Van Winkle with regard to the excessive use

             of force towards students;

         b. failed to properly train Defendant Van Winkle with regard to the scope of his duties

         c. failed to properly supervise Defendant Van Winkle with regard to the excessive use

             of force towards students;

         d. maintained policies and/or customs that were deliberately indifferent to the

             constitutional rights of its students, in that it knew and acquiesced to unjustified

             violence by Van Winkle.

59.   Based on the foregoing, Defendants negligently, recklessly, and/or intentionally failed to

      take prompt, appropriate and/or reasonable remedies to prevent, stop, discipline, and

      remedy the excessive use of force toward students by Van Winkle.

60.   Defendants aforementioned failures constituted the cause and moving force behind the

      intentional, reckless, negligent, and deliberately indifferent actions of the Defendant Van

      Winkle resulting in the harms to C.T. and G.T. aforesaid. Individual Defendant Van

      Winkle acted under and in accordance with the above policies and/or customs in

      committing the attacks described above.

61.   As a result of the attack, C.T. and G.T. suffered injuries as set forth above.

62.   As a direct and proximate result of the Defendants, C.T. and G.T. suffered harm and were

      deprived of their rights under the laws and Constitution of the United States, in particular,



                                              -10-
Case 2:19-cv-12515-KM-ESK Document 11 Filed 07/29/19 Page 11 of 13 PageID: 69



       the Fourth Amendment to the United States Constitution, the due process clause of the

       United States Constitution, and 42 U.S.C. §1983, and was further in violation of the

       Statutes of the State of New Jersey.

63.    As a result of the aforementioned occurrence, and due to intention and willful acts of the

       Defendants, C.T. and G.T. have suffered and will in the future suffer severe emotional

       distress,   bodily   injury,   pain,   emotional     distress,   humiliation,   embarrassment,

       inconvenience, loss of pleasure and enjoyment of life, and medical expenses.

       WHEREFORE, Plaintiff demands judgment against Defendants in an amount in excess of

One Hundred Thousand Dollars ($100,000.00) plus interest, costs, attorney’s fees and punitive

damages (punitive damages against individual defendants only).


                                     COUNT III
             PLAINTIFF, on behalf of C.T. and G.T., V. ALL DEFENDANTS
                        NEW JERSEY CIVIL RIGHTS ACT

64.    Plaintiff incorporates by reference the preceding allegations of this Complaint as though

       each were individually set forth herein at length.

65.    As a direct and proximate result of the Defendants, C.T. and G.T. suffered harm and were

       deprived of their rights under the New Jersey Civil Rights Act..

66.    As a result of the aforementioned occurrence, and due to intention and willful acts of the

       Defendants, C.T. and G.T. have suffered and will in the future suffer severe emotional

       distress,   bodily   injury,   pain,   emotional     distress,   humiliation,   embarrassment,

       inconvenience, loss of pleasure and enjoyment of life, and medical expenses.

       WHEREFORE, Plaintiff demands judgment against Defendants in an amount in excess of

One Hundred Thousand Dollars ($100,000.00) plus interest, costs, attorney’s fees and punitive

damages (punitive damages against individual defendants only).


                                                -11-
Case 2:19-cv-12515-KM-ESK Document 11 Filed 07/29/19 Page 12 of 13 PageID: 70



                                   JURY TRIAL DEMAND

      Plaintiff hereby demands a trial by jury on all issues so triable.

                                             Respectfully submitted,

      Dated: July 29, 2019           BY:     /s/ Ryan M. Lockman, Esq.
                                             RYAN M. LOCKMAN, ESQUIRE
                                             Attorneys for Plaintiff




                                               -12-
Case 2:19-cv-12515-KM-ESK Document 11 Filed 07/29/19 Page 13 of 13 PageID: 71



MARK B. FROST & ASSOCIATES                               Attorneys for Plaintiff
BY: Ryan M. Lockman, Esquire
1515 Market Street, Suite 1300
Philadelphia, PA 19102
P: 215-351-3333
RLockman@MFrostLaw.com

                      UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEW JERSEY
__________________________________________
CHRISTOPHER TERRANOVA,                     :
As a parent and a legal guardian of his minor
                                           :
children, C.T. and G.T.,                   :
                                           :
               Plaintiff,                  :
                                           :
        v.                                 :
                                           :
BOROUGH OF HASBROUCK HEIGHTS,              :
HASBROUCK HEIGHTS SCHOOL DISTRICT :
POLICE CHIEF MICHAEL COLANERI              :
in his individual and official capacities, :             Civ. A. 2:19-cv-12515-JMV-JAD
OFFICER HAROLD VAN WINKLE,                 :
in his individual and official capacities, :
DR. MATTHEW HELFANT,                       :
in his individual and official capacities, :             JURY TRIAL DEMANDED
                                           :
               Defendants.                 :
___________________________________________:


I, Ryan Lockman, hereby certify that the foregoing amended complaint was served upon the
HHSD defendants via ecf, and will be contemporaneously served via personal service upon the
HHPD defendants.



                                           Respectfully submitted,

       Dated: July 29, 2019        BY:     /s/ Ryan M. Lockman, Esq.
                                           RYAN M. LOCKMAN, ESQUIRE
                                           Attorneys for Plaintiff




                                            -13-
